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2
                                 UNITED STATES DISTRICT COURT
3
                                        DISTRICT OF NEVADA
4
5     UNITED STATES OF AMERICA,
6            Plaintiff,                                        2:10-cr-0356-LDG-LRL
7     v.                                                        ORDER
8     JEANNIE SUTHERLAND, et al,
9            Defendants.
10
11          THE COURT HEREBY ORDERS that the orders of forfeiture entered as to defendants
12   Jeannie Sutherland and Kelly Nunez (## 294 and 295) are hereby RESCINDED and VACATED
13   pending resolution of any opposition to such orders.
14
15          DATED this _____ day of February, 2012.
16
17                                                          ______________________________
                                                            Lloyd D. George
18                                                          United States District Judge
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